895 F.2d 1417
    Jenkins (John D., Joanne M.)v.Klamath County's Dept. of Public Safety, Duryee (Tom), Caleb(Edwin I., D.A.), Pedan (Dr.), Bailey (CharlesA.), Bollman (V.)
    NO. 88-3707
    United States Court of Appeals,Ninth Circuit.
    FEB 06, 1990
    
      1
      Appeal From:  D.Or.
    
    
      2
      AFFIRMED IN PART;  REVERSED IN PART.
    
    
      3
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Ninth Circuit provides by rule that dispositions that do not meet specified criteria shall not be published, and that an unpublished disposition shall not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.  Ninth Circuit Rules, Rule 36-3, 28 U.S.C.A.)
    
    